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IN THE UNITED STATES DISTRICT COURT

l= l L E o BY
FOR THE WESTERN DISTRICT OF TENNESSEE ""----_......_,_____
EASTERN DIVISION JUL l 4 2005
""EI“§‘B'¢"°°“""°“"‘
PYROTEK, iNC,, ) w. b. b»=?'i'f'§¢°t‘."°,,
)
Plaintiff, )
)
vs. ) NO. 05-1144-T/An
)
MARK QuACKENBUsH, )
)
Defendant. )

 

ORDER GRANTING MOTION TO REMAND

 

The plaintit`f, Pyrotel<, lnc., filed this action in the Circuit Court of Gibson County,
Tennessee, on April 15, 2005. Defendant Mark Quaekenbush removed the action to this
Court on l\/lay 26, 2005 pursuant to 28 U.S.C. § 1441 et seq., on the basis of diversity of
citizenship §§ 28 U.S.C. § 1332. On June 22, 2005, plaintiff filed a motion to remand the
action to state court on the grounds that removal Was untimely. Det`endant has not
responded to the motion to remand

Pursuant to the removal statute, a notice of removal “shall be filed Within thirty days
after the receipt by the defendant, through service or otherwise, of a copy of the initial
pleading setting forth the claim for reliet`upon Which such action or proceeding is based ....”
28 U.S.C. § l446(b). This statutory time limit, while notjurisdictional, is mandatory and

is strictly enforced, absent a finding ofwaiver or estoppel. See Somlvo v. J. Lu-Rob Enter.q

Thts document entered on the docket sheet ln compliance
with Hule 58 and/or ?9 (a) FF¢Cp on "7 e_." ¢\r 5-

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lL, 932 F.2d 1043, 1046 (2nd Cir. 1991); Citv ofAlbion v. Guarantv Nat’l Ins. Co., 35 F.
Supp. 2d 542, 544 (W.D. Mich. 1998). The party seeking removal has the burden of
establishing that removal is proper. Gafford v. General Elec. Co., 997 F.2d 150, 155 (6111
Cir. 1993).

ln the notice of removal filed in this case, it is recited that the defendant was served
with the summons and complaint on April 29, 2005. Service on that date would make the
removal on May 26th timely. However, in the motion to remand, plaintiff asserts that the
defendant was served with the summons and complaint several days prior to April 29, 2005,
rendering the notice of removal untimely.

A copy of the return of service shows that on April ]5, 2005 the summons and
complaint were mailed from Trenton, Tennessee, to the defendant at an address in
Winterhaven, Florida, by certified return receipt mail. The date of delivery is not indicated
on the return receipt card and the date of the postmark is illegible. However, counsel for the
plaintiff`, Limmie Lee Harrell, Jr., states in an affidavit that the return receipt card signed by
the defendant was received by mail at his office in Trenton, Tennessee on Monday, April
25, 2005. The U.S. Postal Service does not deliver mail on Sunday; therefore, the very latest
date the defendant could have received the summons and complaint was Saturday, April 23,

2005l Harrell’s affidavit has not been refuted by the defendant

 

l Given the distance between Winterhaven, Florida and Trenton, Tennessee, the actual delivery may have
occurred even earlier. It is perhaps possible, but unlikely, that the return receipt card would have been received in
Tennessee on Monday the 25"‘ if delivery ofthe summons and complaint was made in Florida on Saturday the 23"‘.

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As the evidence indicates that the summons and complaint were received by the
defendant, at the latest, on April 23, 2005 , the notice of removal filed on May 26, 2005 was
untimely and removal was improper Therefore, plaintiff` s motion to remand is GRANTED
and this case is hereby REMANDED to the Circuit Court of Gibson County, Tennessee, at
Trenton. The Clerk of Court is directed to prepare a judgment accordingly

IT IS SO ORDERED.

QQMAM

D. TODD
UN ED STATES DISTRICT JUDGE

JV%;WS“

DATE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 1:05-CV-01144 was distributed by faX, mail, or direct printing on
July 15, 2005 to the parties listed.

 

 

L. Lee Harrell

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.TUS TICE BUILDING

Trenton, TN 38382

Honorable .l ames Todd
US DISTRICT COURT

